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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


RENE CARDONA,

                   Plaintiff,

v.                                           Case No: 6:22-cv-1969-PGB-DAB

MARCOS R. LOPEZ, SHAWN
AULTMAN, JACOB BEEKMAN
and TREVOR GODSHALK,

                   Defendants.
                                     /

                                     ORDER

      This cause is before the Court on the Plaintiff’s Notice of Voluntary Dismissal

Without Prejudice, filed November 14, 2022 (Doc. 8) before the Defendants

answered or filed a summary judgment motion. Thus, pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(i), this filing was self-executing. See Anago

Franchising, Inc. v. Shaz, 677 F.3d 1272, 1278 (11th Cir. 2012). Plaintiff’s claims

against Defendants Marcos Lopez, Deputy Shawn Aultman, Deputy Jacob

Beekman, and Deputy Trevor Godshalk are DISMISSED WITHOUT

PREJUDICE. The Clerk of Court is DIRECTED to close the file.

      DONE AND ORDERED in Orlando, Florida on November 15, 2022.
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Copies furnished to:

Counsel of Record
Unrepresented Parties




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